         Case 1:20-cv-03377-DLF Document 60 Filed 05/14/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,

               Plaintiffs,

        v.                                            No. 20-cv-3377 (DLF)

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

               Defendants.


                                          ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the defendants’ Emergency Motion for Stay Pending Appeal, Dkt. 57, is

GRANTED. It is further

       ORDERED that, pursuant to Federal Rule of Civil Procedure 62(c), this Court’s May 5,

2021 Order, Dkt. 53, will remain STAYED pending the defendants’ appeal in this matter.




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                                                         DABNEY L. FRIEDRICH
May 14, 2021                                             United States District Judge
